64 F.3d 658
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Dale Edward MAXWELL, Plaintiff--Appellant,v.DINWIDDIE COUNTY SHERIFFS DEPARTMENT;  Petersburg SheriffDepartment;  B. Heath, Sheriff of Dinwiddie County SheriffsDepartment;  Sheriff Harper, Petersburg County SheriffsDepartment, Defendants--Appellees.
    No. 95-6841.
    United States Court of Appeals, Fourth Circuit.
    Aug. 22, 1995.
    
      Dale Edward Maxwell, Appellant Pro Se.
      Before ERVIN, Chief Judge, MOTZ, Circuit Judge, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the dismissal without prejudice of his 42 U.S.C. Sec. 1983 (1988) complaint.  The district court dismissed Appellant's complaint for failure to respond to the court's order requiring that he particularize his complaint in compliance with Fed.R.Civ.P. 8(a) and 12(b)(6).  This court may exercise jurisdiction only over final orders, 28 U.S.C. Sec. 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. Sec. 1292 (1988);  Fed.R.Civ.P. 54(b);  Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).  Because Appellant may be able to save this action by particularizing his complaint in compliance with the district court's order, the order which Appellant seeks to appeal is not an appealable final order.  See Domino Sugar Corp. v. Sugar Workers Local Union 392, 10 F.3d 1064, 1066-67 (4th Cir.1993).
    
    
      2
      We dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      3
      DISMISSED.
    
    